Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 1 of 7 PageID #: 36
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 2 of 7 PageID #: 37
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 3 of 7 PageID #: 38
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 4 of 7 PageID #: 39
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 5 of 7 PageID #: 40
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 6 of 7 PageID #: 41
Case 1:03-cr-00057-SLR   Document 64   Filed 04/11/06   Page 7 of 7 PageID #: 42
